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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
               v.                              :
                                               :       Case No: 21-CR-087(1) (TJK)
                                               :
MICHAEL SPARKS,                                :
                                               :
               Defendant.                      :


                          MOTION TO DISMISS COUNT ONE
                       OF SECOND SUPERSEDING INDICTMENT


       The United States of America, by and through undersigned counsel, respectfully moves

this Court, pursuant to Federal Rule of Criminal Procedure 48(a), to dismiss Count One of the

Second Superseding Indictment, charging the defendant with Obstruction of an Official

Proceeding in violation of 18 U.S.C. § 1512(c)(2). The government makes this motion in the

interest of justice and in order to clarify and simplify the issues to be resolved at the sentencing

hearing, which is scheduled for August 27, 2024.

       The defendant has indicted that he may nevertheless seek to continue the sentencing

hearing. The government is opposed to any further continuance of the sentencing hearing. With

nearly one month to prepare any change in the guidelines analysis, the parties will have

sufficient time to prepare their sentencing arguments. The analysis of the Sentencing Guidelines,

including the grouping analysis for multiple counts, will only be simplified without a conviction

on Count One. The nature of the conduct has not changed, and the arguments the parties will

raise under 18 U.S.C. § 3553(a) remain the same. In the interests of justice, to bring finality to

a case that has been pending since January 2021, and for which the sentencing has already been
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continued once before, the government submits that the sentencing hearing should proceed as

scheduled on August 27, 2024.

                                           Respectfully submitted,

                                                  MATTHEW M. GRAVES
                                                  United States Attorney
                                                  D.C. Bar No. 481052

                                                  /s/ Emily W. Allen
                                                  EMILY W. ALLEN, Cal. Bar No. 234961
                                                  SONIA MITTAL
                                                  Assistant United States Attorneys
                                                  601 D Street NW
                                                  Washington, DC 20530
                                                  (619) 546-8266




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